Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19       PageID.1294   Page 1 of 26



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 JOHN DOE,                                          :
                                                    : Case No. 18-cv-11776
                           Plaintiff,               :
                                                    : Hon. Arthur J. Tarnow
       v.                                           : Mag. Elizabeth A. Stafford
                                                    :
  UNIVERSITY OF MICHIGAN, et al.,                   :
                                                    :
                           Defendants.              :
                                                    :


            DECLARATION OF JOSHUA W. B. RICHARDS, ESQ.

       I, JOSHUA W. B. RICHARDS, declare as follows:

       1.     I am admitted to practice before this Court.

       2.     I am a partner at the law firm Saul Ewing Arnstein & Lehr LLP,

 counsel for defendants in this proceeding.

       3.     I submit this declaration in support of defendants’ emergency motion

 for reconsideration.

       4.     In support of defendants’ emergency motion for reconsideration, I

 attach true and correct copies of the following exhibits:

              a.    Exhibit A: Transcript of the May 1, 2019 telephonic status

 conference; and
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19     PageID.1295   Page 2 of 26



               b.      Exhibit B: Unpublished cases cited in defendants’ emergency

 motion for reconsideration, which include:

                      i.    Sequal Techs., Inc. v. Stern, No. 10CV2655 DMS NLS,

       2012 WL 474464 (S.D. Cal. Feb. 14, 2012);

                     ii.    Turner v. City of Detroit, No. CIV.A. 11-12961, 2012

       WL 4839139 (E.D. Mich. Oct. 11, 2012); and

                    iii.    United States v. Harper, No. 13-20246, 2016 WL 465495

       (E.D. Mich. Feb. 8, 2016).



       I declare that the foregoing is true and correct.



                                        Respectfully submitted,

 May 6, 2019                            /s/Joshua W. B. Richards
                                        SAUL EWING ARNSTEIN & LEHR LLP
                                        Joshua W. B. Richards
                                        Attorneys for Defendants
                                        1500 Market Street, 38th Floor
                                        Philadelphia, Pennsylvania 19102
                                        (215) 972-7737
                                        joshua.richards@saul.com




                                          -2-
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1296   Page 3 of 26




                         Exhibit A
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1297   Page 4 of 26




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


       JOHN DOE,
                         Plaintiff,
                                             HONORABLE ARTHUR J. TARNOW
             v.
                                             No. 18-11776
       UNIVERSITY OF MICHIGAN, ET
       AL.,
                      Defendants.
       _____________________________/


                                     MOTION HEARING

                                Wednesday, May 1, 2019

       Appearances:
       FOR THE PLAINTIFF:                    DEBORAH GORDON, ESQ.
       FOR THE DEFENDANT:                    JOSH RICHARDS, ESQ.
                                             PATRICK NUGENT. ESQ.
                                             BRIAN SCHWARTZ, ESQ.
                                       -    -   -
                   To obtain a certified transcript, contact:
                 Lawrence R. Przybysz, MA, CSR, RPR, RMR, CRR
                         Official Federal Court Reporter
                    Theodore Levin United States Courthouse
                     231 West Lafayette Boulevard, Room 124
                            Detroit, Michigan 48226
              (313)414-4460. Lawrence_Przybysz@mied.uscourts.gov
                 Proceedings recorded by mechanical stenography.
              Transcript produced by computer-aided transcription.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1298   Page 5 of 26



                                    Motion Hearing
                                Wednesday, May 1, 2019




                                     I   N   D   E   X
                                         -   -   -


       MOTION HEARING.....................................P. 3




              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1299   Page 6 of 26



                                    Motion Hearing
                                Wednesday, May 1, 2019
                                                                       Page 3

   1                                         Detroit, Michigan
   2                                         Wednesday, May 1, 2019
   3                                         2:30 p.m.
   4                                     -    -   -
   5               THE COURT:     Good afternoon.
   6               MS. GORDON:     Good afternoon, Judge Tarnow.
   7               THE COURT:     Who is do we have, please?
   8               MS. GORDON:     Deborah Gordon on behalf of the
   9   plaintiff.
 10                MR. RICHARDS:     And Josh Richards, your Honor, for the
 11    university and Patrick Nugent joins me in my office.              He's on
 12    the briefs as well.
 13                THE COURT:     And?
 14                MR. SCHWARTZ:     Brian Schwartz.
 15                THE COURT:     We are on the record.      It's my
 16    understanding there was a request for this phone conference for
 17    a clarification of the meeting that we will have in a couple
 18    weeks and we have to pick a date for that meeting.
 19                MR. RICHARDS:     Yes, your Honor.
 20                THE COURT:     Please identify yourself when you speak
 21    because there are three voices that sound similar for the
 22    defendant unless -- if you can coordinate it and all three of
 23    you speak at the same time saying the same thing, we have a
 24    baritone here if you have the rest of the harmony down.
 25                MR. RICHARDS:     For the university, your Honor, yes,
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1300    Page 7 of 26



                                    Motion Hearing
                                Wednesday, May 1, 2019
                                                                        Page 4

   1   we made the request for clarification because when we read the
   2   e-mail from the Court, it wasn't clear to us whether the Court
   3   had changed its view on the Cross-Examination issue and if that
   4   was the case, we wanted a chance to discuss that.               And, in
   5   addition, as the Court just alluded to, to discuss the purpose
   6   of the Status Conference to be set in a couple weeks.
   7               THE COURT:     Okay.   Is that it for the reason for this
   8   conference, those two items?
   9               MR. RICHARDS:     From the university's end, this is
 10    Mr. Richards, your Honor, yes.
 11                THE COURT:     What about from the plaintiff's end?
 12                MS. GORDON:     Yes, I have no issues, Judge.
 13                THE COURT:     Okay.   Both requests are reasonable and
 14    I'm going to add another thing to the agenda and that is, if
 15    and when, not if, but when we have the conference, is there any
 16    objection to also touching on the other case where the same
 17    attorneys are involved and the same defendant, different
 18    plaintiff, the             came?
 19                MS. GORDON:     None from plaintiff, Judge.
 20                MR. RICHARDS:     Brian Schwartz.      I'm not sure what not
 21    issues will be raised.
 22                THE COURT:     I am not sure what issues will be raised
 23    but I can conceive that there could be none because I note that
 24    there is a hearing on the 14th in front of Magistrate Mazoub
 25    and everything might be resolved in the                  case on that
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1301   Page 8 of 26



                                    Motion Hearing
                                Wednesday, May 1, 2019
                                                                       Page 5

   1   date.    But if not or if there is anything remaining, that
   2   should be discussed or could be discussed and save some time
   3   and paper and electronic bites.
   4               MR. SCHWARTZ:     I agree that would make sense.
   5   Hopefully everything will be resolved with the Magistrate.               But
   6   if not, I'm sure we could use that time.
   7               THE COURT:     Now, in terms of the Cross-Examination
   8   issue, what are your thoughts?         And I will ask Ms. Gordon first
   9   whether it looks like you are going to be able to resolve it.
 10                MS. GORDON:     Judge --
 11                THE COURT:     Or is it worthwhile waiting and talking
 12    about it at the meeting?
 13                MS. GORDON:     So per your prior instruction, I am
 14    prepared by tomorrow is my cut-off date to send to defense
 15    counsel my listing of concerns with the new policy which you
 16    had instructed we do and then you said they would have seven
 17    days to respond at which point we will have some better idea
 18    whether we are going to be able to agree on the process and
 19    whether we will simply go forward on the process or we will
 20    need the Court's assistance.        So I am ready to go on that and I
 21    have a draft.
 22                THE COURT:     Okay.    Stop.   Stop.   You don't have to
 23    say it again.
 24                MS. GORDON:     Okay.
 25                THE COURT:     Who is going to speak for the defendant?
               18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1302   Page 9 of 26



                                    Motion Hearing
                                Wednesday, May 1, 2019
                                                                       Page 6

   1               MR. RICHARDS:     Josh Richards, your Honor.
   2               THE COURT:     Do you have any problem with keeping to
   3   the schedule?
   4               MR. RICHARDS:     No, your Honor.      That schedule is fine
   5   with the university.
   6               THE COURT:     Okay.    And I am going to include it as a
   7   topic that we are going to talk about at the conference with
   8   the President because I may have over simplified the definition
   9   of Cross-Examination being congruent with the criminal case.
 10    And on further consideration, I don't want you guys to agree
 11    fully with me and then my having to tell you that it may not be
 12    congruent to the extent that -- and this is something I want
 13    the two of you to talk about -- what limitations on the
 14    Cross-Examination which would protect both parties.              For
 15    example, it might be wise that the Cross-Examination could be
 16    done by an independent person or trained, independent person or
 17    a lawyer but not by the accused.
 18                MS. GORDON:     May I, Judge?
 19                THE COURT:     Sure.
 20                MS. GORDON:     Okay.    So I have taken all of that into
 21    account.    I heard what you said.       I am working off of the
 22    university's current January 2019 policy language.              They have
 23    given some thought already to whether they want to have a third
 24    party do the questioning.       Their current policy does not allow
 25    for that.    I would say that Doe versus Baum (ph) did allow for
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19    PageID.1303   Page 10 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                         Page 7

   1    that.    But to the extent the university is not allowing for
   2    that, I am willing to live with that.            I mean, I don't care.
   3    It's fine with me.      So I am taking into account what you said
   4    but I am also very cognizant, perhaps moreso, of what Doe
   5    versus Baum (ph) says and what the university's new policy
   6    says.    So everything I'm going to send to defense counsel is
   7    going to be based on what they currently have and where I think
   8    there are due process problems with what they currently have.
   9                THE COURT:    Okay.   What about the defense?         Who is
  10    this.
  11                MR. RICHARDS:     Josh Richards.      On that particular
  12    point, your Honor, I agree with Ms. Gordon that Doe versus Baum
  13    leaves it to institutions' discretion as to whether the
  14    cross-examination will be performed by the party because, of
  15    course, Cross-Examination is permitted for both parties, or by
  16    a representative of that party.
  17                THE COURT:    Okay.   Well, then let's continue with the
  18    schedule we have.      Now, the only thing left to discuss today is
  19    when are we going to meet?
  20                MR. RICHARDS:     Your Honor, Josh Richards.         Before we
  21    move on to procedural matters, I would like to address with the
  22    Court the purpose of the Court's request that the President
  23    attend.    And I would like to note that the President is not the
  24    university official who has primary responsibility for the
  25    policy.
                18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1304   Page 11 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 8

   1                THE COURT:    And that would be the chief counsel?           Who
   2    is that person who would have that responsibility?
   3                MR. RICHARDS:     I would have to check with my client
   4    as to who the right person would be, your Honor, but it is
   5    certainly not the President.
   6                THE COURT:    Well, you can check with the President
   7    and whoever else you have to check with and when you find the
   8    right person, you can bring her or him along with the President
   9    and then everyone will be complete in terms of people with
  10    authority.    And obviously the ultimate authority is the
  11    President.
  12                MR. RICHARDS:     Your Honor, that may be true --
  13                THE COURT:    He might not be the person with the most
  14    hands-on experience and authority, but he is the one who is
  15    going to have to approve whatever the four of you decide on and
  16    whatever I might add to that decision.
  17                MR. RICHARDS:     So a few things on that point, your
  18    Honor.   First, the President can delegate the ultimate
  19    authority that the Court is referring to to someone else who
  20    can attend the conference and is willing to do so.             What I am
  21    trying to figure out is what is the Court's purpose in
  22    requiring the President to attend?
  23                THE COURT:    I don't want anything that we decide to
  24    have to be reviewed by the President which as I understand
  25    university structure, this is the kind of decision that
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1305   Page 12 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 9

   1    ultimately would have to be at least okayed by the President.
   2                MS. GORDON:    Excuse me, Judge.       If I could just chime
   3    in on one point here.      The reason this is set up the way it is
   4    is that you ask Mr. Richards at the Status Conference these
   5    very questions.     You wanted to know who was responsible for the
   6    policy.    And he ended up saying after a discussion a little bit
   7    of, some stuff we are hearing now, he did say ultimately it's
   8    the President.
   9                MR. RICHARDS:     That's not what I said.
  10                MS. GORDON:    That was my recollection.
  11                THE COURT:    Ms. Gordon, Ms. Gordon --
  12                MS. GORDON:    Yes.
  13                THE COURT:    And both of you, it doesn't matter what
  14    was said at that conference.        I don't think there is any
  15    dispute to the statement that I just made that the ultimate
  16    authority in an university on a question of this kind of policy
  17    has to be the President of the university.           Yes, he can
  18    delegate.    Obviously, with such a large institution there are
  19    all sorts of delegations made.        But I don't think he would
  20    characterize himself as a figure head.           And I think he would,
  21    and I would agree, that the person down the line in charge of
  22    discipline or however it's structured knows more about the
  23    day-to-day operation and so on.        But that person reports to the
  24    President and the President will be here.
  25                MR. RICHARDS:     Respectfully, your Honor, if the
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1306   Page 13 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 10

   1    Court's concern is that the person at the conference will not
   2    have authority to make an agreement without consulting with the
   3    President, I can assure the Court that the person at the
   4    conference will have that authority.
   5                THE COURT:    I believe you 100 percent.
   6                MR. RICHARDS:     That being the case --
   7                THE COURT:    No, no.    I have not changed my mind
   8    because while that person will have the authority, and it's
   9    mildly surprising or more than mildly surprising you don't even
  10    know who that person is or their job title, I want the
  11    President here.     He will be here.
  12                MR. RICHARDS:     Again, your Honor, I am asking the
  13    Court to articulate the reason for the President being there in
  14    light of the university's offer to produce somebody who will
  15    have authority.
  16                THE COURT:    I don't have to explain myself, but I
  17    will.    And it's I think the President, part of his
  18    qualifications for the job when he was hired and when he
  19    continued in the job, is the public strict any that the
  20    university is regularly under and he should be a part of this
  21    parentheses so that he can defend whatever is dread to and
  22    explain to the media, to the public, and perhaps most
  23    importantly to the faculty and the students.           So he shall be
  24    here.
  25          I was tempted to quote an appellate judge I saw on C-Span
                18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1307   Page 14 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 11

   1    once -- no, it wasn't that.       It was a Judge, an appellate Judge
   2    when I was still practicing and he, the Judge, asked the
   3    question, that I thought was very simple and I said this is the
   4    answer.    Why wouldn't the person want the information that I
   5    was asking for?     And the Judge pushed back in his seat so he
   6    would be off microphone and said, I gave up the big bucks to
   7    ask the questions, and you don't get to ask the questions.                I
   8    waived that rule.      I answered your question.       And if you start
   9    another sentence with again, I will again repeat myself.
  10                MR. RICHARDS:     Josh Richards.     I understand the
  11    Court.    I want to clarify that the Court is ordering that the
  12    President appear.
  13                THE COURT:    If you need to say that, that's fine.           If
  14    you want me to put it in writing so the media has it, it will
  15    be something like, the President has been requested to
  16    participate in a discussion of a proposed rule and has chosen
  17    not to appear.     Therefore, I order that he appear.          Is that
  18    what you want?
  19                MR. RICHARDS:     I am not asking the Court to put it in
  20    writing.    I am simply asking the Court to make it clear so when
  21    I explain it to my client I can explain to my client precisely
  22    what the situation is.
  23                THE COURT:    You can.    And I made it clear.       And you
  24    can order a transcript.       I am asking that he participate so
  25    that the result is not another two years of arguing about
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1308   Page 15 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 12

   1    discovery in this case and every subsequent case and arguing
   2    about timeliness of motions to dismiss or summary judgment or
   3    anything else legalistic when my sense is that both sides have
   4    a common goal and, that is, to provide fairness to the accuser
   5    and fairness to the accused.
   6                MR. RICHARDS:     Josh Richards.     I certainly degree
   7    with the Court's final statement with respect to fairness.                And
   8    in the light of the Court's order I have two additional, I
   9    guess, procedural questions.        The first is if the purpose of
  10    the conference in light of the fact that there is no pending
  11    motion is to discuss resolution of the claims, then one of the
  12    requests that I made in my first e-mail to your law clerk was
  13    that the Court consider referring this matter to a colleague.
  14    The claims in this case are sufficiently complex and frankly
  15    uncertain at this point that I don't think it's outside the
  16    realm of possibility that some questions in this case will be
  17    for the Court.     And if that is the case, I think it would be
  18    proper for another colleague of your Honor to facilitate the
  19    discussion that your Honor is proposing that the parties have.
  20                THE COURT:    Your request is noted.       What is your
  21    second request?
  22                MR. RICHARDS:     My second request is much more nuts
  23    and bolts and it has to do with timing.          The 16th which the
  24    Court has initially proposed as a date for the conference is as
  25    we noted in my response the date of the meeting --
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1309   Page 16 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 13

   1                THE COURT:    You can stop.     Here are the choices.
   2    Tuesday May 21st at 11:30.       Is that available to you and your
   3    client or do you have to check?
   4                MR. RICHARDS:     I have to check, your Honor. I
   5    apologize.
   6                THE COURT:    Don't apologize.       You are not
   7    clairvoyant.     If that is -- the other choice is Thursday,
   8    May 23rd at 11:00 a.m.      So the first choice is at 11:30 on the
   9    21st, and the second choice is the 23rd at 11:00.              And I trust
  10    that one of those dates will be suitable for all of you.
  11                MR. RICHARDS:     My first question -- Josh Richards for
  12    the record.
  13                THE COURT:    Pardon?
  14                MR. RICHARDS:     My first request with respect to the
  15    referral, your Honor --
  16                THE COURT:    It's noted.     I am not going to refer it.
  17    And please don't ask me why.        You don't want to hear why.         And
  18    the reason is you would have to start -- you do want to hear
  19    why.   The reason is whoever I referred it to would have to
  20    start over in terms of understanding the scope of the
  21    conference, the scope of at least the Doe case -- and this is a
  22    jury trial, am I right?
  23                MS. GORDON:    That's correct, Judge.
  24                THE COURT:    There is nothing other than make work in
  25    your suggestion.     And so it is denied but is noted on the
               18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1310   Page 17 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 14

   1    record.
   2                MR. RICHARDS:     With respect to those due dates, your
   3    Honor, the May 21st date and the May 23rd date, in the event
   4    there is a conflict on the university's end with respect to
   5    some portion of that time, would attending by telephone be an
   6    option?
   7                THE COURT:    No.   That is an easy question.        It's not
   8    like you are a plane trip away.        I won't tell you how fast I
   9    used to be able to get to U of M.
  10                MR. RICHARDS:     Again, your Honor --
  11                THE COURT:    It's less than an hour.
  12                MR. RICHARDS:     I wasn't referring to counsel.         I was
  13    referring to the President.
  14                THE COURT:    I know.    I am referring to Ann Arbor's
  15    relationship to Detroit. Counsel, he chose to have an Ann
  16    Arbor/Detroit case.      I am talking about your client,
  17    specifically, the President.
  18                MR. RICHARDS:     I understand, your Honor.
  19                THE COURT:    Let me say this.       This should be more
  20    important to him than almost anything going on at the
  21    university.    I understand the importance of the Board Meeting,
  22    Regents meeting, and that is why I have no problem giving
  23    alternative dates.      But I am not sure I would understand
  24    anything else being more important than resolving what is a hot
  25    button issue at every university in this country.              So,
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1311   Page 18 of 26



                                     Motion Hearing
                                 Wednesday, May 1, 2019
                                                                        Page 15

   1    therefore, I would be looking for a very strong excuse for him
   2    not to be able to come on one of those two dates.              And the
   3    question might be, which of the dates is more convenient for
   4    the plaintiff lawyer because your client could come on either
   5    date.    Anything else?
   6                MS. GORDON:    No, Judge.     Plaintiff will make -- we
   7    will make ourselves available whenever the date -- either date
   8    we are available we will clear our schedules if need be.
   9    Whatever will work for everybody else is fine.
  10                THE COURT:    All right.    Anything from the defense?
  11                MR. RICHARDS:     No, your Honor.
  12                THE COURT:    Thank you.
  13                MS. GORDON:    Thank you for your time, Judge.
  14                                   -    -    -
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
                18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1312   Page 19 of 26




                                                                        Page 16

   1                           C E R T I F I C A T I O N
   2                 I, Lawrence R. Przybysz, official court reporter
   3      for the United States District Court, Eastern District of
   4      Michigan, Southern Division, appointed pursuant to the
   5      provisions of Title 28, United States Code, Section 753,
   6      do hereby certify that the foregoing is a correct
   7      transcript of the proceedings in the above-entitled cause
   8      on the date hereinbefore set forth.
   9                 I do further certify that the foregoing
  10      transcript has been prepared by me or under my direction.
  11
  12
        s/Lawrence R. Przybysz
  13    Official Court Reporter
  14    Date: May 3, 2019
  15                                    -    -    -
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
              18-11776; John Doe v. University of Michigan, et al.
Case 2:18-cv-11776-AJT-EAS ECF No. 44-1 filed 05/06/19   PageID.1313   Page 20 of 26




                         Exhibit B
 Case Technologies,
Sequal 2:18-cv-11776-AJT-EAS            ECF No.
                    Inc. v. Stern, Not Reported    44-1 filed
                                                in F.Supp.2d     05/06/19
                                                             (2012)                    PageID.1314          Page 21 of 26
2012 WL 474464

                                                                    of their company.” [Ex Parte Motion at 2.] Similarly,
                                                                    Stern argues that Sequal “uses the CASD court as a
                  2012 WL 474464
                                                                    financial pressure tool on Digiflo & myself, to have
    Only the Westlaw citation is currently available.
                                                                    our legal expenses to be [sic] as high as possible.”
             United States District Court,
                                                                    Finally, Stern claims that “Plaintiff plan [sic] is to only
                   S.D. California.
                                                                    show fake and inexpensive representation at mandatory,
      SEQUAL TECHNOLOGIES, INC., Plaintiff,                         tax payer financed, settlement conferences.” [Id.] Based
                        v.                                          on these assertions, Stern asks the court to: 1)
      Michael STERN, Digiflo, Inc., Defendants.                     Order Sequal to bring its President or CEO to the
                                                                    Mandatory Settlement Conference; 2) Consider cancelling
              Civil No. 10cv2655 DMS (NLS).                         the Mandatory Settlement Conferences; 3) Order Sequal
                             |                                      to pay for Defendants expenses in attending the
                       Docket No. 55.                               Mandatory Settlement Conferences; and 4) to allow the
                             |                                      DigiFLO attorney to attend the Mandatory Settlement
                       Feb. 14, 2012.                               Conferences by telephone.

                                                                    On February 13, 2012, Plaintiff Sequal Technologies, Inc.
      ORDER DENYING EX PARTE MOTION                                 (“Sequal”) filed an Opposition to the Ex Parte Motion.
        FOR EQUAL PARTICIPATION OR                                  [Docket No. 56.] For the foregoing reasons, the Ex Parte
       CANCELLATION OF FEBRUARY 22,                                 Motion is Denied.
     2012, NOVEMBER 28, 2012 CASD COURT
    MANDATORY SETTLEMENT CONFERENCE
                                                                    II. DISCUSSION
NITA L. STORMES, United States Magistrate Judge.
                                                                       A. Stern Failed to Meet and Confer
I. INTRODUCTION                                                     The Chambers Rules state: “Appropriate ex parte
 *1 On June 20, 2011, the Court conducted an                        applications must ... include a description of the dispute,
Early Neutral Evaluation (“ENE”) but the case did                   the relief sought, reasonable and appropriate notice to
not settle. [Docket No. 21.] On June 23, 2011, the                  the opposition and an attempt to resolve the dispute
Court issued a Scheduling Order that set Mandatory                  without the court's intervention.” [Chambers Rules at
Settlement Conference Dates for February 22, 2012 and               1.] Stern provides no statement that he attempted to
November 28, 2012. [Docket No. 22.] On February 13,                 resolve the dispute without court intervention. Sequal
2012, Defendant Michael Stern (“Stern”), delivered to               states that it was provided no notice that Stern would be
chambers an Ex Parte Motion for Equal Participation                 seeking to: 1) vacate the November Mandatory Settlement
or Cancellation of February 22, 2012, November 28,                  Conference; 2) require particular Sequal representatives
                                                                    at the Mandatory Settlement Conference; 3) force Sequal
2012 CASD Court Mandatory Settlement Conference. 1
                                                                    to pay his costs to attend the Mandatory Settlement
[Docket No. 55, (“Ex Parte Motion”).]
                                                                    Conference; or 4) excuse personal attendance of defense
                                                                    counsel. [Opp at 3.] Accordingly, Stern failed to follow
1      Chambers staff forwarded the Ex Parte Motion to the          chambers rules and did not adequately meet and confer
       clerk's office with directions that it be filed. Defendant   prior to submitting the Ex Parte Motion. The Ex Parte
       Stern is specifically informed that chambers staff will
                                                                    Motion could be denied on this ground alone. The Court
       not redirect chambers copies for filing in the future.
                                                                    will, nonetheless, address the substance of the Ex Parte
       Defendant Stern must file properly with the court any
                                                                    Motion.
       future court documents.
Stern notes that he attended the ENE in this case on behalf
of himself and as President of Defendant Digiflo, Inc.                B. Stern Failed to Provide Good Cause for the Relief
(“Digiflo” collectively “Defendants”). Stern then claims              Requested
that the ENE failed because Sequal “representatives had
no economic authority, related to the economic affairs



               © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                           1
 Case Technologies,
Sequal 2:18-cv-11776-AJT-EAS            ECF No.
                    Inc. v. Stern, Not Reported    44-1 filed
                                                in F.Supp.2d     05/06/19
                                                             (2012)                   PageID.1315           Page 22 of 26
2012 WL 474464

   1. No Good Cause Exists to Allow Stern to Choose              the costs of this lawsuit are not relevant and good cause is
                                                                 lacking to cancel the Mandatory Settlement Conferences.
   Sequal's Representative
 *2 Stern first argues that Sequal should be forced to
bring its President or CEO to the Mandatory Settlement           2       Stern attached a document from Sequal, claiming
Conference, based on an assertion that Sequal did                        it shows “plaintiff uses the CASD court as a
not bring an appropriate representative to the ENE.                      financial pressure tool” [Ex Parte Motion, Ex.
The Order setting the ENE required: “In addition                         A.] Sequal asserts that Stern has improperly
                                                                         attached a settlement communication. The Court
to counsel who will try the case, a party or party
                                                                         is without sufficient information as to whether
representative with full settlement authority must be
                                                                         the communication was improperly attached and
present for the conference. In the case of a corporate
                                                                         expresses no opinion on that question. The Court
entity, an authorized representative of the corporation                  does, however, note that it draws no inference
who is not retained outside counsel must be present and                  from this communication that Sequal acted in any
must have discretionary authority to commit the company                  improper manner.
to pay an amount up to the amount of the plaintiff's
prayer (excluding punitive damage prayers).” [Docket No.           3. No Good Cause Exists to Force Sequal to Cover
20.] The ENE was attended by Matthew Klaben, Vice                  Stern's Costs
President, General Counsel and Secretary of Sequal, who          Stern also asks the Court to order Sequal to finance
possessed full settlement authority. [Opp. at 2.] There is       Defendants' costs of appearing at the Mandatory
nothing in the court record to indicate that Sequal failed       Settlement Conference. As Sequal argues, Defendants
in any way to comply with the Court Order. Accordingly,          present no justification for the request to be relieved of the
there is no good cause to require Sequal to bring any            normal costs of defending a lawsuit.
particular representative to the Mandatory Settlement
Conference, so long as the representative it chooses has
the requisite authority.                                           4. No Good Cause Exists to Allow Digiflo's Counsel to
                                                                   Appear Telephonically
                                                                 Finally, Defendants seek to allow Digiflo's counsel
  2. No Good Cause Exists to Vacate the Mandatory                to appear by telephone at the Mandatory Settlement
  Settlement Conferences                                         Conference. The only reason given is to “reduce our
Stern next argues that the February and November                 costs.” As noted above, Defendants have provided no
Mandatory Settlement Conferences should be vacated.              good cause why they should be relieved of the ordinary
As Sequal argues in Opposition, Stern presents no                costs of defending this lawsuit.
good cause for cancelling either the February or
November Mandatory Settlement Conferences. Stern
has simply asserted that Sequal intends to “only show            III. CONCLUSION
fake and inexpensive representation” at the Mandatory            For the reasons stated above, and Good Cause Not
Settlement Conference. Stern offers nothing to support           Appearing, It Is Hereby Ordered that the Ex Parte Motion
this assertion. 2 Moreover, the Court, not Sequal, has           is DENIED in its entirely.
ordered that the Mandatory Settlement Conferences take
place and has determined that settlement conferences             IT IS SO ORDERED.
at these times would be valuable. Accordingly, Stern's
allegations regarding Sequal's motivations in relation to
                                                                 All Citations

                                                                 Not Reported in F.Supp.2d, 2012 WL 474464

End of Document                                              © 2019 Thomson Reuters. No claim to original U.S. Government Works.




              © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                             2
 Casev.2:18-cv-11776-AJT-EAS
Turner  City of Detroit, Not Reported in ECF  No. (2012)
                                         F.Supp.2d 44-1      filed 05/06/19       PageID.1316            Page 23 of 26
2012 WL 4839139, 116 Fair Empl.Prac.Cas. (BNA) 428

                                                             Amended Complaint (Dkt. No. 18), Plaintiff added claims
                                                             of race discrimination. Plaintiff, an AfricanAmerican
                 2012 WL 4839139
                                                             woman, was an executive level mayoral appointee holding
   Only the Westlaw citation is currently available.
                                                             the positions of Interim Director, and then Director,
            United States District Court,
                                                             of Detroit's Water and Sewerage Department. Plaintiff
                  E.D. Michigan,
                                                             alleges that she was paid significantly less than the two
                Southern Division.
                                                             males who preceded her in the position and the white
           Pamela Willis TURNER, Plaintiff,                  female who was hired after her departure. Plaintiff says
                          v.                                 that, on more than one occasion, she personally discussed
            CITY OF DETROIT, Defendant.                      her salary with Bing, Detroit's Mayor, and that Bing
                                                             “directly made the decisions regarding [her] appointment
                Civil Action No. 11–12961.                   and salary” (Dkt. No. 33, p. 2, ¶ 5).
                              |
                       Oct. 11, 2012.                        After Defendant refused to produce Bing for a deposition,
                                                             Plaintiff moved to compel. Following a hearing on
Attorneys and Law Firms                                      April 6, 2012, this Magistrate Judge ordered Plaintiff
                                                             to first submit interrogatories directed to Bing and
Alice B. Jennings, Edwards & Jennings, Detroit, Felicia
                                                             to proceed with a deposition—limited to two hours—
Duncan Brock, I.A.B. Attorneys At Law, Dearborn, MI,
                                                             only if necessary after reviewing Bing's responses (Dkt.
for Plaintiff.
                                                             No. 25). Defendant produced Bing's responses to the
June C. Adams, Detroit, MI, for Defendant.                   interrogatories. Unsatisfied with Bing's answers, Plaintiff
                                                             again demanded Bing's deposition; Defendant refused and
                                                             Plaintiff filed a second motion to compel. Defendant
                                                             failed to respond to this second motion and did not
     OPINION AND ORDER DENYING BING'S
                                                             appear on the hearing date. On September 13, 2012,
       MOTION FOR RECONSIDERATION
                                                             having reviewed Plaintiff's unopposed second motion, this
        AND EMERGENCY MOTION TO
                                                             Magistrate Judge ordered Bing to appear for deposition
      STAY DEPOSITION (DKT.NOS.39, 40)
                                                             within fourteen days and sanctioned Defendant $1200.00.
MARK A. RANDON, United States Magistrate Judge.              Bing's motions followed. 1

 *1 Two motions are before the Court: (1) Dave Bing's        1      Bing is represented by Miller, Canfield, Paddock and
motion for reconsideration of this Court's September
                                                                    Stone. Citing its governing charter, the City of Detroit
13, 2012 Order granting Plaintiff's motion to compel his
                                                                    objects to Miller Canfield's “special appearance” on
deposition (Dkt. No. 39) and Bing's emergency motion to
                                                                    Bing's behalf (Dkt. No. 46).
stay his deposition (Dkt. No. 40). The Court has reviewed
the parties submissions (Dkt. Nos. 39, 40, 42, 43, 46,
49 and 51); a phone conference with counsel was held                                II. ANALYSIS
on October 9, 2012. Being otherwise fully advised, for
the reasons indicated below, the Court: (1) denies the       Fed.R.Civ.P. 26(b) controls the scope of discovery, unless
motions for reconsideration and stay of deposition; and      otherwise limited by order of the court. The Rule provides
(2) modifies its April 6, 2012 order to further limit the    in pertinent part that:
parameters of Bing's deposition.

                                                                         Parties may obtain discovery
                                                                         regarding any nonprivileged matter
                   I. BACKGROUND
                                                                         that is relevant to any party's claim
On July 8, 2011, Plaintiff Pamela Turner filed this action               or defense ... For good cause, the
for sex discrimination in violation of the Equal Pay Act                 court may order discovery of any
and Michigan's Elliott Larsen Civil Rights Act. In an                    matter relevant to the subject matter



              © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                              1
 Casev.2:18-cv-11776-AJT-EAS
Turner  City of Detroit, Not Reported in ECF  No. (2012)
                                         F.Supp.2d 44-1       filed 05/06/19       PageID.1317            Page 24 of 26
2012 WL 4839139, 116 Fair Empl.Prac.Cas. (BNA) 428

            involved in the action. Relevant                  for taking official action.” Simplex Time Recorder Co.
            information need not be admissible                v. Sec ‘y of Labor, 766 F.2d 575, 586 (D.C.Cir.1985);
            at the trial if the discovery appears             see also In re United States (Holder ), 197 F.3d 310,
            reasonably calculated to lead to the              313 (8th Cir.1999); In re FDIC, 58 F.3d 1055, 1060
            discovery of admissible evidence.                 (5th Cir.1995); In re United States (Kessler), 985 F.2d
                                                              510, 512 (11th Cir.1993). This rule is based on the
                                                              notion that “high ranking government officials have
Fed.R.Civ.P. 26(b)(1), emphasis added.                        greater duties and time constraints than other witnesses”
                                                              and that, without appropriate limitations, such officials
Similarly, Fed.R.Civ.P. 30 provides for broad access to       will spend an inordinate amount of time addressing
persons during the discovery process. It says, in pertinent   pending litigation. Kessler, 985 F.2d at 512. But, this
part:                                                         rule is has limits. The Court may permit depositions
                                                              of high ranking officials where the official has first-
   *2 (a) When a Deposition May Be Taken                      hand knowledge related to the claim being litigated. See
                                                              Lewelling, 879 F.2d at 21 (upholding the issuance of a
  (1) A party may by oral questions depose any person,        protective order and sanctions against the plaintiff who
  including a party, without leave of court except as         sought to depose a corporate CEO who had no knowledge
  provided in Rule 30(a)(2). The deponent's attendance        of facts pertinent to the plaintiff's claims, unless the CEO
  may be compelled by subpoena under Rule 45.
                                                              agreed to meeet to discuss settlement); see also Baine v.
                                                              Gen. Motors Corp., 141 F.R.D. 332, 335 (M.D.Ala.1991);
Fed.R.Civ.P. 30(a)(1).
                                                              Church of Scientology of Boston v. IRS, 138 F.R.D. 9,
                                                              12 (D.Mass.1990); Cmty. Fed. Sav. & Loan Ass'n v. Fed.
Notwithstanding Rules 26(b) and 30, Bing says that
                                                              Home Loan Bank Bd., 96 F.R.D. 619, 621 (D.D.C.1983).
he is not subject to deposition because, as Detroit's
                                                              However, even in such cases, discovery is permitted only
Mayor, he is a high-ranking official subject to the “apex
                                                              where it is shown that other persons cannot provide the
doctrine.” Bing cites Devlin v. Chemed Corp., No. 04–
                                                              necessary information. Holder, 197 F.3d at 314.
74192, 2005 WL 2313859 (E.D.Mich. Sept.21, 2005);
Thomas v. International Business Machines, 48 F.3d 478,
                                                              *3 This Magistrate Judge finds no palpable defect in its
483–84 (10th Cir.1995)) and Lewelling v. Farmers Ins.
                                                              Orders of April 6, 2012 and September 13, 2012 that would
of Columbus, Inc., 879 F.2d 212, 218 (6th Cir.1989) as
support for this proposition. “[T]he apex doctrine is         require a different result. 2 Plaintiff was Bing's choice to
the application of the rebuttable presumption that the        head the Detroit Water and Sewerage Department; she
deposition of a high-ranking corporate executive either       has also demonstrated that Bing has knowledge of the
violates Rule 26(b)(2)(C)'s proportionality standard or,      pertinent facts related to her claims and may have unique
on a party's motion for a protective order, constitutes       information regarding her salary. However, given Bing's
“good cause” for such an order as an “annoyance”              lengthy responses to Plaintiff's interrogatories, and his
or “undue burden” within the meaning of Rule 26(c)            time constraints as Mayor of Detroit, Bing's deposition
(1). Should the deposing party fail to overcome this          shall be further limited to one (1) hour in duration.
presumption, the court must then limit or even prohibit       Bing's deposition must also be taken before or after
the deposition.” Performance Sales & Marketing LLC v.         regular business hours and take place at the Mayor's
Lowes Companies, Inc., No. 5:07–CV–00140, 2012 WL             Offices. 3 With these limitations, Bing must be produced
4061680 * 4 (W.D.N.C. Sept. 14, 2012)                         for deposition on or before October 26, 2012. In all other
                                                              respects, the September 13, 2012 Order of this Magistrate
In United States v. Morgan, 313 U.S. 409, 422, 61 S.Ct.
                                                              Judge stands 4 , subject to objection before the District
999, 85 L.Ed. 1429 (1941), the Supreme Court indicated
                                                              Judge.
that the practice of calling high ranking government
officials as witnesses should be discouraged. Relying on
                                                              2      Motions for reconsideration may be granted pursuant
Morgan, other courts have concluded that “top executive
                                                                     to E.D. Mich. LR 7.1(g)(1) when the moving party
department officials should not, absent extraordinary
                                                                     shows (1) a “palpable defect,” (2) that misled the court
circumstances, be called to testify regarding their reasons


              © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                               2
 Casev.2:18-cv-11776-AJT-EAS
Turner  City of Detroit, Not Reported in ECF  No. (2012)
                                         F.Supp.2d 44-1             filed 05/06/19        PageID.1318           Page 25 of 26
2012 WL 4839139, 116 Fair Empl.Prac.Cas. (BNA) 428

                                                                             the propriety of Mayoral representation by outside
      and the parties, and (3) that correcting the defect
                                                                             counsel (without law department approval) going
      will result in a different disposition of the case. E.D.
                                                                             forward.
      Mich. LR 7.1(g)(3). A “palpable defect” is a defect
      which is obvious, clear, unmistakable, manifest,               4       Defendant must pay the $1200 sanctions on or before
      or plain. Mich. Dep't of Treasury v. Michalec,                         October 31, 2012.
      181 F.Supp.2d 731, 734 (E.D.Mich.2002) (citations
      omitted). However, motions for reconsideration                 It is so ordered.
      should not be granted when they “merely present the
      same issues ruled upon by the court, either expressly
      or by reasonable implication.” E.D. Mich. LR 7.1(g)            All Citations
      (3).
                                                                     Not Reported in F.Supp.2d, 2012 WL 4839139, 116 Fair
3     Bing may be represented by Miller Canfield at                  Empl.Prac.Cas. (BNA) 428
      this deposition. The Court makes no finding as to


End of Document                                                  © 2019 Thomson Reuters. No claim to original U.S. Government Works.




              © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                                  3
CaseStates
United 2:18-cv-11776-AJT-EAS           ECF No.(2016)
            v. Harper, Not Reported in F.Supp.3d 44-1           filed 05/06/19        PageID.1319           Page 26 of 26
2016 WL 465495

                                                                              upon by the court, either expressly
                                                                              or by reasonable implication. The
                 2016 WL 465495
                                                                              movant must not only demonstrate
   Only the Westlaw citation is currently available.
                                                                              a palpable defect by which the court
            United States District Court,
                                                                              and the parties and other persons
         E.D. Michigan, Southern Division.
                                                                              entitled to be heard on the motion
   United States of America, Plaintiff/Respondent,                            have been misled but also show that
                         v.                                                   correcting the defect will result in a
      James O. Harper, Defendant/Petitioner.                                  different disposition of the case.

               Criminal Case No. 13-20246
                             |                                   See Eastern District of Michigan Local Rule 7.1(h)(3).
                 Civil Case No. 14-14385                         A motion for reconsideration does not afford a movant
                             |                                   an opportunity to present the same issues that have
                   Signed 02/08/2016                             been already ruled on by the court, either expressly
                                                                 or by reasonable implication. Nor does a motion for
Attorneys and Law Firms                                          reconsideration afford the movant an opportunity to
                                                                 make new arguments that could have been, but were not,
Kenneth R. Chadwell, U.S. Attorney's Office, Detroit,
                                                                 raised before the Court issued its ruling.
MI, for Plaintiff/Respondent.

David I. Lee, Detroit, MI, for Defendant/Petitioner.             Unless the Court orders otherwise, no response to a
                                                                 motion for reconsideration is permitted and no hearing
                                                                 is held. Eastern District of Michigan Local Rule 7.1(h)
            ORDER DENYING MOTION                                 (3). This Court concludes that, with respect to Harper's
             FOR RECONSIDERATION                                 Motion for Reconsideration, neither a response brief nor
                                                                 a hearing is necessary.
Sean F. Cox, United States District Judge
                                                                 Again, in order to grant a motion for reconsideration, the
 *1 On January 15, 2016, this Court issued an Opinion            movant must demonstrate a palpable defect by which the
& Order denying Petitioner a § 2255 motion filed by              court has been misled and must also show that correcting
Defendant/Petitioner James O. Harper. On January 29,             the defect will result in a different disposition of the case.
2015, Petitioner filed a Motion for Reconsideration.             After reviewing Harper's Motion for Reconsideration,
(Docket Entry No. 62).                                           this Court concludes that Harper has not met that
                                                                 standard.
Motions for reconsideration in civil cases are governed by
Local Rule 7.1 of the Local Rules of the Eastern District        Accordingly, the Court ORDERS that Harper's Motion
of Michigan, which provides:                                     for Reconsideration is DENIED.

                                                                 IT IS SO ORDERED.
           (3) Grounds. Generally, and without
           restricting the court's discretion, the
           court will not grant motions for                      All Citations
           rehearing or reconsideration that
                                                                 Not Reported in F.Supp.3d, 2016 WL 465495
           merely present the same issues ruled

End of Document                                              © 2019 Thomson Reuters. No claim to original U.S. Government Works.




              © 2019 Thomson Reuters. No claim to original U.S. Government Works.                                             1
